AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of North Carolina

                  United States of America
                                                                      )
                             v.                                              Case No.                7:20-CR-191-BO-3
                                                                      )
                                                                      )
                                                                      )
DAVID DARNELL WHITEHEAD                                               )
                             Defendant


                                         ORDER SCHEDULING A DETENTION HEARING



          A detention hearing in this case is scheduled as follows:


          Terry Sanford Federal Building
Place:                                                                       Courtroom No.:      5th Floor
          310 New Bern Avenue
          Raleigh, NC                                                        Date and Time:      3/8/21 at 10:00 am

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         3 March 2021
                                                                                                Judge’s signature


                                                                                James E. Gates, United States Magistrate Judge
                                                                                              Printed name and title




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